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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN

 and                                                 Civil Action No. 21-3354 (BAH)

 WANDREA MOSS,
                                                     Judge Beryl A. Howell
                         Plaintiffs,

            v.

 RUDOLPH W. GIULIANI,

                         Defendant.




    DECLARATION OF MICHAEL J. GOTTLIEB IN SUPPORT OF PLAINTIFFS’
     SUBMISSION REGARDING ADDITIONAL SANCTIONS FOR DEFENDANT
               GIULIANI’S FAILURE TO COMPLY WITH THE
                    COURT’S AUGUST 30, 2023 ORDER

I, Michael J. Gottlieb, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.        I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the following Declaration is based on my personal

knowledge.

       2.        I represent Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above-

captioned case, and submit this Declaration in support of the Plaintiffs’ Submission Regarding

Additional Sanctions for Defendant Giuliani’s Failure to Comply with the Court’s August 30,

2023 Order (the “Submission”).

       3.        As of the date of this Declaration, Defendant Giuliani has not paid Plaintiffs any
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of the attorneys’ fees as ordered by the MTC Fees Order1, Giuliani Businesses Fees Order, or

Sanctions Fees Order.

        4.        As of the date of this Declaration, Plaintiffs have not received any productions

from Defendant Giuliani, Giuliani Partners LLC, and/or Giuliani Communications LLC, as

required by the August 30, 2023 Order.

        5.        Since the Court’s August 30, 2023 Order, Defendant Giuliani has made numerous

derogatory public statements adressing the Court’s Order, Plaintiffs, and Plaintiffs’ counsel,

while soliciting donations for his legal defense. On September 14, 2023, on “The Rudy Giuliani

Show” on WABC 77, in an episode titled “John C. Gordon | Political Advocate | 09-14-23,”

Defendant Giuliani referred to Plaintiff Ruby Freeman, as well as myself, by name, and repeated

the same defamatory statements for which this Court has already found him liable, such as the

false allegation that Plaintiffs committed election fraud by “throw[ing] everybody out,” and

“cas[ing] the joint,” before counting ballots in State Farm Arena.The episode is available at link

https://wabcradio.com/episode/john-c-gordon-political-advocate-09-14-23/.

        6.        On or around August 7, 2023, Plaintiffs became aware, through public reporting,

that Defendant Giuliani listed his Upper East Side condominium for sale with a $6.5 million

listing price. Based on this information, on August 30, 2023, Plaintiffs emailed counsel for

Defendant Giuliani a letter addressed to Defendant Giuliani demanding that Defendant Giuliani

cease and desist any fraudulent transfer of assets. Counsel for Defendant Giuliani confirmed that

the letter would be delivered to the Defendant.

        7.        Attached as Exhibit 1 is a true and correct copy of an article published by PBS on

September 8, 2023, titled “Trump hosts a $100,000-per-person fundraiser to help Giuliani pay



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    Any capitalized terms not defined herein shall have the meaning assigned in the Submission.

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legal bills,” available at https://www.pbs.org/newshour/politics/trump-hosts-a-100000-per-

person-fundraiser-to-help-giuliani-pay-legal-bills.

     8.        Attached as Exhibit 2 is a true and correct copy of the Statement of Organization

for the Giuliani Defense PAC, filed with the Federal Election Commission on August 4, 2023.

     9.        Attached as Exhibit 3 is a true and correct copy of a post Defendant Giuliani made

on X, formerly known as Twitter, on August 22, 2023, providing a PO Box for the “Rudy Giuliani

Defense Fund.”

     10.       Attached as Exhibit 4 is a true and correct copy of an article published by

Newsmax on September 9, 2023, titled “Rudy Giuliani to Newsmax: Defense Fund Can Help Us

Go on 'Offensive,,'” available at https://www.newsmax.com/newsmax-tv/rudy-giuliani-

indictments-legal/2023/09/09/id/1133855/.

     11.       Attached as Exhibit 5 is a true and correct copy of an article published by CNN

on August 16, 2023, titled “Giuliani struggling under massive legal bills after defending Trump,”

available           at       https://www.cnn.com/2023/08/15/politics/giuliani-money-lawsuits-

trump/index.html.

     12.       Attached as Exhibit 6 is a true and correct copy of an article published by the New

York Times on September 19, 2023, titled “Giuliani Sued Over Unpaid Legal Fees by Lawyer

Who Led His Defense,” available at https://www.nytimes.com/2023/09/19/nyregion/giuliani-

suit-lawyer.html.

     13.       I declare under penalty of perjury that the foregoing is true and correct.

Executed on September 29, 2023.



                                                       /s/ Michael J. Gottlieb
                                                       WILLKIE FARR & GALLAGHER LLP
                                                       MICHAEL J. GOTTLIEB

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                                    Wandrea’ Moss




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